8:14-cr-00155-JFB-SMB            Doc # 201     Filed: 04/27/15     Page 1 of 1 - Page ID # 474




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                        Plaintiffs,                                   8:14CR155

        vs.
                                                                        ORDER
DOROTEO MANUEL PONCE,

                        Defendant.


This matter is before the court on defendant's MOTION TO EXTEND DEADLINE TO FILE
MOTIONS [198]. Counsel seeks to reopen the deadline for filing Pretrial Motions until June 1,
2015. The record shows that this deadline for filing Pretrial Motions expired on March 31, 2015.
The entry of appearance of retained counsel after the expiration of the Pretrial Motions deadline
is not a sufficient reason to justify extension of the deadline. The court finds that the defendant
has not shown good cause for extending the deadline.


          IT IS ORDERED:


          1.     Defendant's MOTION TO EXTEND DEADLINE TO FILE MOTIONS [198] is
denied.


          2.     Pursuant to NECrimR 59.2(a), a party may appeal this order by filing a
“Statement of Appeal of Magistrate Judge’s Order” no later than 12:00 noon on Friday, May 1,
2015.




          Dated this 27th day of April, 2015

                                                     BY THE COURT:
                                                     s/ F.A. Gossett, III
                                                     United States Magistrate Judge
